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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


                                                            )
 In re:                                                     )      Chapter 11
                                                            )
 CENTER CITY HEALTHCARE,LLC d/b/a                           )      Case No. 19-11466(KG)
 HAHNEMANN UNIVERSITY HOSPITAL,                             )
 et al.,^                                                   )      Jointly Administered
                                                            )
                                     Debtors.               )




                                      CERTIFICATE OF SERVICE


                 I, Timothy P. Cairns, hereby certify that on the 23rd day of December,2019,1

caused a copy of the following document(s)to be served on the individual(s) on the attached

service list(s) in the manner indicated:

                 Notice of Withdrawal of Statement of Tenet Business Services Corporation
                 Regarding Certain Matters Set for Hearing on December 17,2019


                                                      /s/ Timothy P. Cairns
                                                      Timothy P. Cairns(DE Bar No.4228)




    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
    Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C.(1617),
    SCHC Pediatric Associates, L.L.C.(0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C.(6447),SCHC
    Pediatric Anesthesia Associates, L.L.C.(2326), StChris Care at Northeast Pediatrics, L.L.C.(4056), TPS ofPA,
    L.L.C.(4862),TPS 11 ofPA,L.L.C.(5534), TPS 111 ofPA,L.L.C.(5536),TPS IV ofPA,L.L.C.(5537),and TPS
    V of PA, L.L.C. (5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania
    19102.




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Center City Healthcare, LLC d/b/a                   Hand Delivery
Hahnemann University Hospital, et al.               (Counsel to Capital One, N.A.)
(2002 FCM)                                          Gregory A. Taylor, Esquire
Case No. 19-11466(KG)                               Katharina Earle, Esquire
Document No. 224421                                 Ashby & Geddes,P.A.
34 - Hand Delivery                                  500 Delaware Ave, 8th Floor
92- First Class Mail                                Wilmington, DE 19801

                                                    Hand Delivery
(Counsel to Tenet Business Services Corp.           (Counsel to Drexel University)
and Conifer Revenue Cycle Solutions, LLC)           Tobey M. Daluz, Esquire
Laura Davis Jones, Esquire                          Chantelle D. McClamb, Esquire
Timothy P. Cairns, Esquire                          Ballard Spahr LLP
Pachulski Stang Ziehl & Jones LLP                   919 N. Market Street, 11th Floor
919 N. Market Street, 17th Floor                    Wilmington, DE 19801
PO Box 8705
Wilmington, DE 19801                                Hand Delivery
                                                    (Counsel to Harrison Street Real Estate
Hand Delivery                                       LLC)
(United States Attorney)                            Stuart M. Brown, Esquire
David C. Weiss, Esquire                             DLA Piper LLP
do Ellen Slights, Esquire                            1201 N. Market Street, Suite 2100
Office of the United States Attorney                 Wilmington, DE 19801
Hercules Building
1313 N. Market Street, Suite 400                    Hand Delivery
Wilmington, DE 19801                                (Counsel to SpecialtyCare Inc.)
                                                    Marc S. Casarino, Esquire
Hand Delivery                                       White and Williams LLP
(United States Trustee)                             600 N. King Street, Suite 800
Benjamin Hackman, Esquire                           Wilmington, DE 19801
Office of the United States Trustee
844 King Street, Suite 2207                         Hand Delivery
Lockbox 35                                          (Counsel to Commonwealth of Pennsylvania
Wilmington, DE 19801-6519                           Department of Health)
                                                    Richard A. Barkasy, Esquire
Hand Delivery                                       Schnader Harrison Segal & Lewis LLP
(Counsel to the Debtors)                            824 N. Market Street, Suite 800
Mark Minuti, Esquire                                Wilmington, DE 19801
Monique DiSabatino, Esquire
Saul Ewing Arnstein & Lehr LLP                      Hand Delivery
 1201 N. Market Street, Suite 2300                  (Counsel to General Healthcare Resources,
PO Box 1266                                         LLC)
Wilmington, DE 19899                                Jody C. Barillare, Esquire
                                                    Morgan, Lewis & Bockius LLP
                                                    1007 N. Orange Street, Suite 501
                                                    Wilmington, DE 19801


                                               1
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                                                Hand Delivery
Hand Delivery                                   (Counsel to Temple University Health
(Counsel to Veolia Energy Philadelphia,         System, Inc.)
Inc.)                                           Marcy J. McLaughlin, Esq.
Howard A. Cohen, Esquire                        Pepper Hamilton LLP
Gibbons P.C.                                    Hercules Plaza, Suite 5100
300 Delaware Avenue, Suite 1015                 1313 N. Market Street
Wilmington, DE 19801-1761                       Wilmington, DE 19801

Hand Delivery                                   Hand Delivery
(Counsel to Gift of Life Donor Program,         (Counsel to the Official Committee of
Greater Delaware Valley Society)                Unsecured Creditors)
Patrick A. Jackson, Esquire                     Thomas M. Horan, Esquire
Drinker Biddle & Reath LLP                      Fox Rothschild LLP
222 Delaware Avenue, Suite 1410                 919 N. Market Street, Suite 300
Wilmington, DE 19801-1621                       Wilmington, DE 19801

Hand Delivery                                   Hand Delivery
(Counsel to Tower Health)                       (Counsel to MidCap Funding IV Trust,
Joseph H. Huston, Esquire                       MidCap Financial Trust, MidCap Funding H
Stevens & Lee, P.C.                             Trust)
919 N. Market Street, Suite 1300                Joelle E. Polesky, Esquire
Wilmington, DE 19801                            Stradley, Ronon, Stevens & Young, LLP
                                                1000 N. West Street, Suite 1279
Hand Delivery                                   WiImington, DE 19801
(Counsel to Vitalant)
Christopher A. Ward, Esquire                    Hand Delivery
Polsinelli PC                                   (Counsel to Association of American Medical
222 Delaware Avenue, Suite 1101                 Colleges (the “AAMC”)and the Educational
                                                Commission for Foreign Medical Graduates (the
Wilmington, DE 19801                            “ECFMG”)
                                                Justin R. Alberto, Esquire
Hand Delivery
                                                Sophie E. Macon, Esquire
(Counsel to Suzanne Koenig, Patient Care        Bayard, P.A.
Ombudsman)                                      600 N. King Street, Suite 400
Dennis A. Meloro, Esquire                       Wilmington, DE 19801
Greenberg Traurig, LLP
The Nemours Building                            Hand Delivery
1007 N. Orange Street, Suite 1200               (Counsel to Medline Industries, Inc.)
Wilmington, DE 19801                            Frederick B. Rosner, Esquire
                                                The Rosner Law Group LLC
                                                824 N. Market Street, Suite 810
                                                Wilmington, DE 19801




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Hand Delivery                                        Hand Delivery
(Counsel to Roche Diagnostics Corporation)           (Counsel to Hackensack Meridian Health)
David M.Powlen, Esquire                              Natasha M. Songonuga, Esquire
Kevin G. Collins, Esquire                            Robert K. Malone, Esquire
Barnes & Thornburg LLP                               David N. Crapo, Esquire
1000 N. West Street, Suite 1500                      Gibbons P.C.
Wilmington, DE 19801                                 300 Delaware Avenue, Suite 1015
                                                     Wilmington DE 19801-1761
Hand Delivery
(Counsel to Corner Corporation)                      Hand Delivery
 William F. Taylor, Jr., Esquire                     (Counsel to Coloplast Corp.)
McCarter & English, LLP                              Stephanie A. Fox, Esquire
Renaissance Centre                                   Maron Marvel Bradley Anderson & Tardy
405 N. King Street, 8th Floor                        LLC
Wilmington, DE 19801                                 1201 N. Market Street, Suite 900
                                                     Wilmington, DE 19801
Hand Delivery
(Counsel to Suzarme Richards and Pamela              Hand Delivery
Saechow)                                             (Counsel to Thomas Jefferson University
David M. Klauder, Esquire                            and Thomas Jefferson University Hospitals,
Bielli & Klauder, LLC                                Inc.)
1204 N. King Street                                  Patrick A. Jackson, Esquire
 Wilmington, DE 19801                                Drinker Biddle & Reath LLP
                                                     222 Delaware Avenue, Suite 1410
Hand Delivery                                        Wilmington, DE 19801-1621
(Counsel to Albert Einstein Healthcare
Network)                                             Hand Delivery
Jarret P. Hitchings, Esquire                         (Counsel to Joel Freedman, American
Duane Morris LLP                                     Academic Health Systems, LLC and
222 Delaware Avenue, Suite 1600                      Philadelphia Academic Health Holdings
Wilmington, DE 19801-1659                            LLC)
                                                     Mark D. Collins, Esquire
Hand Delivery                                        Michael J. Merchant, Esquire
(Counsel to Laboratory Corporation of America®       Brendan J. Schlauch, Esquire
Holdings (“LabCorp”) and Monogram Biosciences,       Richards, Layton & Finger, P.A,
Inc.(“Monogram”))
                                                     One Rodney Square
William D. Sullivan, Esquire
Sullivan Hazeltine Allinson LLC                      920 N. King Street
                                                      Wilmington, DE 19801
901 N. Market Street, Suite 1300
Wilmington, DE 19801




                                                 3
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Hand Delivery                                     Hand Delivery
(Counsel to St. Christopher’s Hospital for        (Counsel to District 1199C National Union
Children Medical Staff)                           of Health Care Employees, AFSCME)
Daniel K. Astin, Esquire                          Michael Busenkell, Esquire
Joseph J. McMahon, Jr., Esquire                   Gellert Scali Busenkell & Brown,EEC
Ciardi Ciardi & Astin                             1201 N. Orange Street, Suite 300
1204 N. King Street                               Wilmington, DE 19801
Wilmington, DE 19801
                                                  First Class Mail
Hand Delivery                                     (Counsel to the Debtors)
(Counsel to EEAF Capital Funding, EEC)            Jeffrey Hampton, Esquire
Deirdre M. Richards, Esquire                      Adam Isenberg, Esquire
Fineman Krekstein & Harris PC                     Aaron Applebaum, Esquire
1300 N. King Street                               Saul Ewing Arnstein & Eehr EEP
Wilmington, DE 19801                              Centre Square West
                                                   1500 Market Street, 38th Floor
Hand Delivery                                     Philadelphia, PA 19102
(Counsel to Dr. Achintya Moulick)
David M. Klauder, Esquire                         First Class Mail
Bielli & Klauder, EEC                             Internal Revenue Service
 1204 N. King Street                              PO Box 7346
Wilmington, DE 19801                              Philadelphia, PA 19101

Hand Delivery                                     First Class Mail
(Counsel to Philadelphia Hospital and             United States Department of Justice
Healthcare Employees - District 1199C             950 Pennsylvania Ave, NW
Training and Upgrading Fund)                      Washington, DC 20530
Claiborne S. Newlin, Esquire
Markowitz and Richman                             First Class Mail
Eegal Arts Building                               United States Department of Justice
1225 King Street, Suite 804                       Civil Division
Wilmington, DE 19801                              1100 E Street, NW,10030
                                                  Washington, DC 20005
Hand Delivery
(Counsel to Ad Hoc Committee of                   First Class Mail
Hahnemann Residents and Fellows)                  Josh Shapiro, Esquire
Jeremy W. Ryan, Esquire                           Office of the Attorney General
R. Stephen McNeill, Esquire                       Bankruptcy Department
D. Ryan Slaugh, Esquire                           16th Floor, Strawberry Square
Potter Anderson & Corroon EEP                     Hanisburg, PA 17120
1313 N. Market Street, 6th Floor
Wilmington, DE 19801                              First Class Mail
                                                  Pennsylvania Dept, of Human Services
                                                  625 Forster Street
                                                  Hanisburg, PA 17120



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First Class Mail                                   First Class Mail
Pennsylvania Dept, of Human Services               (Top 30 Creditors)
PO Box 2675                                        Brooke Mitch
Harrisburg, PA 17105-2675                          Ino Therapeutics LLC d/b/a Mallinckrodt
                                                   Pharmaceuticals
First Class Mail                                   1425 US Route 206
Attn: Law Dept                                     Bedminster, NJ 07921
City of Philadelphia
1515 Arch Street, 17th Floor                       First Class Mail
Philadelphia, PA 19102                             (Top 30 Creditors)
                                                   Eric Vautrin
First Class Mail                                   Olympus America Inc.
(Top 30 Creditors)                                 3500 Corporate Parkway
Rob Dubow                                          Center Valley, PA 18034-0610
City of Philadelphia
Code Violation Enforcement Division                First Class Mail
PO Box 56318                                       (Top 30 Creditors)
Philadelphia, PA 19130                             Dennis Czaplicki
                                                   Crothall Healthcare Inc.
First Class Mail                                   13028 Collections Center Drive
(Top 30 Creditors)                                 Chicago, IE 60693
aCandice Henson
Concentra d/b/a Concentra Medical Centers          First Class Mail
5080 Spectrum Drive, 1200W                         (Top 30 Creditors)
Addison, TX 75001                                  Brian Castelein, CBA
                                                   Medtronic USA Inc.
First Class Mail                                   4642 Collections Center Drive
(Top 30 Creditors)                                 Chicago, IE 60693
Kay Ennis
Nthrive Inc.                                       First Class Mail
200 North Point Center E, Suite 600                (Top 30 Creditors)
Alpharetta, GA 30022                               Kelley Masked
                                                   Premier Healthcare Solutions
First Class Mail                                   5882 Collections Center Drive
(Top 30 Creditors)                                 Chicago, IE 60693
Peter J Butera, Esquire
Smith & Nephew                                     First Class Mail
150 Minuteman Road                                 (Top 30 Creditors)
Andover, MA 01810                                  Nick Gulland
                                                   Optuminsight
                                                   11000 Optum Circle
                                                   Eden Prairie, MN 55344




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First Class Mail                                First Class Mail
(Top 30 Creditors)                              (Top 30 Creditors)
Nicole Hassler                                  Shane Reed
Champion Energy                                 Medline Industries Inc.
1500 Rankin Road, Suite 200                     Three Lakes Drive
Houston, TX 77073                               Northfield, IL 60093

First Class Mail                                First Class Mail
(Top 30 Creditors)                              (Top 30 Creditors)
John Erickson                                   Benefit Fund for Hosp & Health
Ensemble RCM EEC                                1319 Locust Street
13620 Reese Blvd, Suite 200                     Philadelphia, PA 19107
Huntersville, NC 28078
                                                First Class Mail
First Class Mail                                (Top 30 Creditors)
(Top 30 Creditors)                              Anthony Esposito
Quality Systems Inc.                            Drexel University
18111 Von Karman Ave, Suite 700                 3201 Arch Street, Suite 420
Irvine, CA 92612                                Philadelphia, PA 19104

First Class Mail                                First Class Mail
(Top 30 Creditors)                              (Top 30 Creditors)
Ian Wilson                                      Stacy Cramer
Corner Corp                                     Greater Delaware Valley Society
2800 Rockcreek Parkway                          401 N 3rd Street
Kansas City, MO 64117                           Philadelphia, PA 19123

First Class Mail                                First Class Mail
(Top 30 Creditors)                              (Top 30 Creditors)
Donald J. Damico                                Temple University Hospital
Global Neurosciences Institute                  Cashier Office
3100 Princeton Park, Building 3, Suite D        3401 N. Broad Street, Rm A 131
Lawrenceville, NJ 08648                         Philadelphia, PA 19140

First Class Mail                                First Class Mail
(Top 30 Creditors)                              (Top 30 Creditors)
Clenn Frost                                     Tricia Marts
Renal Treatment Centers Se LP - Davita          Veolia Energy Philadelphia Inc.
2476 East Swedesford Road, Suite 150            2600 Christian Street
Malvern, PA 19355                               Philadelphia, PA 19146




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(Top 30 Creditors)                              (Debtors’ Union)
Subbarao Pushadapu                              Pennsylvania Association of Staff Nurses
NTT Data Services LLC                           and Allied Professionals
7950 Legacy Dr, Suite 900                       1 Fayette Street, Suite 475
Plano, TX 75024                                 Conshohocken, PA 19428

First Class Mail                                First Class Mail
(Top 30 Creditors)                              (Debtors’ Union)
A1 Santosusso                                   International Brotherhood of Electrical
Universal Protection SVS LP                     Workers, Local 98
1551 North Tustin Ave, Suite 650                1701 Spring Garden Street
Santa Ana, CA 92705                             Philadelphia, PA 19130

First Class Mail                                First Class Mail
(Top 30 Creditors)                              (Debtors’ Union)
Patty Paget                                     National Union of Hospital and Healthcare
DePuy Synthes Sales                             Employees, AFSCME,AFL-CIO
Customer Receivables Management                 1319 Eocust Street
US Route 22 W                                   Philadelphia, PA 19107
Somerville, NJ 08876-1051
                                                First Class Mail
First Class Mail                                (Debtors’ Union)
(Top 30 Creditors)                              National Union of Hospital and Healthcare
Tara Smalls                                     Employees, District 1199C
American Red Cross                              1319 Locust Street
430 17thStNW                                    Philadelphia, PA 19107
Washington, DC 20006
                                                First Class Mail
First Class Mail                                (Counsel to SpecialtyCare, Inc.)
(Top 30 Creditors)                              Amy E. Vulpio, Esquire
Arushi Chandran                                 White and Williams LEP
General Electric Co. d/b/a GE Healthcare        1650 Market Street, 18th Floor
9900 Innovation Drive                           Philadelphia, PA 19103
Wauwatosa, WI 53226-4856
                                                First Class Mail
First Class Mail                                (Counsel to certain of the union)
(Top 30 Creditors)                              Jonathan Walters, Esquire
Pittsburgh National Bank 640382                 Markowitz & Richman
Amy Dorfmeister, Esquire                        123 South Broad Street, Suite 2020
Ernst & Young US EEP                            Philadelphia, PA 19109
1 PPG PI #2100
Pittsburgh, PA 15264




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First Class Mail                                   First Class Mail
(Counsel to certain of the unions(1199) and        (Counsel to Drexel University College of
Benefit Fund for Hospital and Health Care          Medicine)
Employees, Philadelphia and Vicinity)              Stephen A. Cozen, Esquire
Lance Geren, Esquire                               Cozen O’Connor
O’Donoghue & O’Donoghue LLP                        One Liberty Place
325 Chestnut Street, Suite 600                     1650 Market Street, Suite 2800
Philadelphia, PA 19106                             Philadelphia, PA 19103

First Class Mail                                   First Class Mail
(Counsel to Harrison Street Real Estate,           (Counsel to Tenet Business Services Corp.
LLC)                                               and Conifer Revenue Cycle Solutions, LLC)
Richard A. Chesley, Esquire                        Stephen C. Hackney, P.C.
DLA Piper LLP                                      Gregory F. Pesce, Esquire
444 W. Lake Street, Suite 900                      Kirkland & Ellis LLP
Chicago, IL 60606                                  300 North LaSalle
                                                   Chicago, IL 60654
First Class Mail
(Counsel to MidCap Funding IV Trust)               First Class Mail
Deborah A. Reperowitz, Esquire                     (Counsel to Tenet Business Services Coip.
Stradley Ronan Stevens & Young LLP                 and Conifer Revenue Cycle Solutions, LLC)
100 Park Avenue, Suite 2000                        Nicole L. Greenblatt, P.C.
New York, NY 10017                                 Kirkland & Ellis LLP
                                                   601 Lexington Avenue
First Class Mail                                   New York, NY 10022
(Counsel to Capital One, N.A.)
Louis A. Curcio, Esquire                           First Class Mail
Jessica D. Mikhailevich, Esquire                   (Counsel to the City of Philadelphia)
Troutman Sanders LLP                               Megan Harper, Esquire
875 Third Avenue                                   Deputy City Solicitor
New York, NY 10022                                 City of Philadelphia Law Department
                                                    Municipal Services Building
First Class Mail                                   1401 JFK Boulevard, 5th Floor
(Counsel to Capital One, N.A.)                     Philadelphia, PA 19102-1595
Matthew R. Brooks, Esquire
Troutman Sanders LLP                               First Class Mail
600 Peachtree Street NE, Suite 3000                (Counsel to the Commonwealth of
Atlanta, GA 30308                                  Permsylvania, Office of Attorney General,
                                                   as parens patriae)
First Class Mail                                   Carol E. Momjian, Esquire
(Counsel to Drexel University)                     Christopher R. Momjian, Esquire
Vincent J. Marriott, III, Esquire                  Office of the Attorney General
Ballard Spahr LLP                                  The Phoenix Building
1735 Market Street, 51st Floor                     1600 Arch Street, 3rd Floor
Philadelphia, PA 19103                             Philadelphia, PA 19103



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First Class Mail
(Counsel to Suzanne Koenig, Patient Care        First Class Mail
Ombudsman)                                      (Counsel to Rydal Square L.P.)
Nancy A. Peterman, Esquire                      Jeffrey Kurtzman, Esquire
Greenberg Traurig, LLP                          Kurtzman | Steady, LLC
77 W. Wacker Drive, Suite 3100                  401 S. 2nd Street, Suite 200
Chicago, IL 60601                               Philadelphia, PA 19147-1222

First Class Mail                                First Class Mail
(Counsel to the Commonwealth of                 (Counsel to Tower Health)
Pennsylvania, Office of Attorney General,       Robert Lapowsky, Esquire
as parens patriae)                              Stevens & Lee, P.C.
Ryan B. Smith, Esquire                          620 Freedom Business Center, Suite 200
Deputy Attorney General                         King of Prussia, PA 19406
Office of Attorney General
1600 Arch Street, Suite 300                     First Class Mail
Philadelphia, PA 19103                          (Counsel to NTT Data Services)
                                                Sabrina L. Streusand, Esquire
First Class Mail                                Streusand, Landon, Ozburn & Lemmon,
(Counsel to Veolia Energy Philadelphia,         LLP
Inc.)                                           1801 S. Mopac Expressway, Suite 320
Dale E. Barney, Esquire                         Austin, TX 78746
Gibbons P.C.
One Gateway Center                              First Class Mail
Newark, NJ 07102-5310                           (Counsel to General Healthcare Resources,
                                                LLC)
First Class Mail                                Rachel Jaffe Mauceri, Esquire
(Counsel to the Commonwealth of                 Morgan, Lewis & Bockius LLP
Pemisylvania, Office of Attorney General,       1701 Market Street
as parens patriae)                              Philadelphia, PA 19103-2921
David Dembe, Esquire - Sr. Deputy
Attorney General                                First Class Mail
Lisa M. Rhode, Esquire - Sr. Deputy             (Counsel to United States of America)
Attorney General                                Marc S. Sacks, Esquire
The Phoenix Building                            U.S. Department of Justice
1600 Arch Street, 3rd Floor                     Civil Division
Philadelphia, PA 19103                          PO Box 875
                                                Ben Franklin Station
First Class Mail                                Washington, DC 20044-0875
(Counsel to DaVita, Inc., and Renal
Treatment Centers - Northeast, Inc.)
Timothy M. Swanson, Esquire
Vikrama S. Chandrashekar, Esquire
Moye White LLP
1400 16th Street, 6th Floor
Denver, CO 80202


                                            9
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First Class Mail                                First Class Mail
(Counsel to Temple University Health            (Counsel to Association of American Medical
System, Inc.)                                   Colleges (the “AAMC”)and the Educational
                                                Commission for Foreign Medical Graduates (the
Franeis J. Lawall, Esquire                      “ECFMG”)
Pepper Hamilton LLP                             Oscar N. Pinkas, Esquire
3000 Two Logan Square                           Lauren Macksoud, Esquire
Eighteenth and Arch Streets                     Dentons US LLP
Philadelphia, PA 19103-2799                     1221 Avenue of the Americas
                                                New York, NY 10020
First Class Mail
(Counsel to Hayes Locum, LLC)                   First Class Mail
Daniel K. Hogan, Esquire                        (Counsel to Medline Industries, Inc.)
Garvan F. McDaniel, Esquire                     George P. Angelich, Esquire
Daniel C. Kerrick, Esquire                      Phillip Khezri, Esquire
Hogan^McDaniel                                  Arent Fox LLP
1311 Delaware Avenue
                                                1301 Avenue of the Americas, 42nd Floor
Wilmington, DE 19805                            New York, NY 10019

First Class Mail
                                                First Class Mail
(Counsel to the Official Committee of           (Office of Unemployment Compensation
Unsecured Creditors)                            Tax Services(“UCTS”))
Andrew H. Sherman, Esquire                      Deb Secrest
Boris 1. Mankovetskiy, Esquire                  Commonwealth of Pennsylvania
Sills Cummis & Gross P.C.
                                                Department of Labor and Industry
The Legal Center                                Collections Support Unit
One Riverfront Plaza
                                                651 Boas Street, Room 925
Newark, NJ 07102                                Harrisburg, PA 17121
First Class Mail                                First Class Mail
(Counsel to Pennsylvania Association of         (Counsel to Corner Corporation)
Staff Nurses and Allied Professionals)          Darrell W. Clark, Esquire
Mitchell Malzberg, Esquire                      Tracey M. Olim, Esquire
Law Offices of Mitchell J. Malzberg, LLC        Stinson LLP
6 E. Main Street, Suite 7                       1775 Pennsylvania Avenue, NW,Suite 800
PO Box 5122
                                                Washington, DC 20006
Clinton, NJ 08809
                                                First Class Mail
First Class Mail
                                                (Counsel to Paths, LLC)
(Counsel to MidCap Funding IV Trust,            Christina J. Pross, Esquire
MidCap Financial Trust, MidCap Funding H        Mattleman Weinroth & Miller, P.C.
Trust)                                          200 Continental Drive, Suite 215
Gretchen M. Santamour, Esquire                  Newark, DE 19713
Stradley Ronon Stevens & Young, LLP
2005 Market Street, Suite 2600
Philadelphia, PA 19103



                                           10
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First Class Mail                                  First Class Mail
(Counsel to Suzanne Richards and Pamela           (Counsel to Philadelphia Hospital and Healthcare
Saechow)                                          Employees - District 1199C Training and Upgrading
                                                  Fund (“Training Fund”))
Phillip D. Berger, Esquire
                                                  Training & Upgrading Fund
Matthew R. Kaufmann, Esquire
                                                  c/o Susan A. Murray, Esquire
Berger Law Group, P.C.
                                                  Freedman & Lorry, P.C.
919 Conestoga Road, Building 3, Suite 114
                                                  1601 Market Street, Suite 1500
Rosemont,PA 19010
                                                  Philadelphia, PA 19103
First Class Mail
                                                  First Class Mail
(Counsel to Albert Einstein Flealthcare
                                                  (Counsel to Ensemble RCM,LLC d/b/a
Network)
                                                  Ensemble Health Partners)
Mairi V. Luce, Esquire
Duane Morris LLP
                                                  Jeffrey R. Barber, Esquire
                                                  Jones Walker LLP
30 S. 17th Street
                                                  190 E. Capitol Street, Suite 800(39201)
Philadelphia, PA 19103-4196                       PO Box 427
                                                  Jackson, MS 39205-0427
First Class Mail
Penny J. Rezet                                    First Class Mail
Executive Vice President & Chief Legal
Officer
                                                  (Counsel to Sodexo Management, Inc. aka
                                                  Sodexo, Inc. & Affiliates)
Albert Einstein Healthcare Network
5501 Old York Road
                                                  Judy D. Thompson, Esquire
                                                  JD Thompson Law
Philadelphia, PA 19141                            PO Box 33127
                                                  Charlotte, NC 28233
First Class Mail
William J. Wickward, Jr., Esquire                 First Class Mail
General Counsel
CS Medical
                                                  (Counsel to Pennsylvania Association of
                                                  Staff Nurses and Allied Professionals)
2179 E. Lyon Station Road
                                                  Claiborne S. Newlin, Esquire
Creedmoor, NC 27522
                                                  Markowitz and Richman
                                                  123 S. Broad Street, Suite 2020
First Class Mail
                                                  Philadelphia, PA 19109
(Counsel to Med One Capital Funding,
LLC)                                              First Class Mail
David H. Leigh, Esquire
                                                  (Counsel to Hackensack Meridian Health)
Ray Quinney & Nebeker, P.C.
                                                  Patricia A. Celano, Esquire
36 S. State Street, 14th Floor
                                                  Pearlman & Miranda, LLC
Salt Lake City, UT 84111                          110 Edison Place, Suite 301
                                                  Newark, NJ 07102




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First Class Mail
(Counsel to SBJ Group Inc.)                       First Class Mail
E. Todd Sable, Esquire                            (Counsel to St. Christopher’s Hospital for
Lawrence A. Lichtman, Esquire                     Children Medical Staff)
Honigman LLP                                      Albert A. Ciardi III, Esquire
2290 First National Building                      Ciardi Ciardi & Astin
660 Woodward Avenue                               One Commerce Square, Suite 3500
Detroit, MI 48226                                 2005 Market Street
                                                  Philadelphia, PA 19103
First Class Mail
(Counsel to Vizient, Inc.)                        First Class Mail
David L. Campbell, Esquire                        (Counsel to Oracle America, Inc.)
Eli D. Pierce, Esquire                            Shawn M. Christianson, Esquire
Underwood Perkins, P.C.                           Buchalter, a Professional Corporation
Two Lincoln Centre                                55 Second Street, 17th Floor
5420 LBJ Freeway, Suite 1900                      San Francisco, CA 94105-3493
Dallas, TX 75240
                                                  First Class Mail
First Class Mail                                  (Counsel to The Advisory Board Company)
(Counsel to ThermaSolutions, Inc.)                Eric S. Goldstein, Esquire
Marc A. Al, Esquire                               Shipman & Goodwin LLP
Stoel Rives LLP                                   One Constitution Plaza
33 S. 6th Street, Suite 4200                      Hartford, CT 06103-1919
Minneapolis, MN 55402
                                                  First Class Mail
First Class Mail                                  (Counsel to District 1199C National Union
(Counsel to Thomas Jefferson University           of Health Care Employees, AFSCME)
and Thomas Jefferson University Hospitals,        Jessica A. Kolansky, Esquire
Inc.)                                             Willig, Williams & Davidson
Marita S. Erbeck, Esquire                         1845 Walnut Street, 24th Floor
Drinker Biddle & Reath LLP                        Philadelphia, PA 19103
600 Campus Drive
Florham Park, NJ 07932-1047

First Class Mail
(Counsel to Joel Freedman, American
Academic Health Systems, EEC and
Philadelphia Academic Health Holdings
EEC)
Suzzanne Uhland, Esquire
Daniel S. Shamah, Esquire
Diana M. Perez, Esquire
O’Melveny & Myers LLP
Times Square Tower
7 Times Square
New York, NY 10036


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